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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KATHRYN TOWNSEND GRIFFIN,
HELEN McDONALD, the
Estate of CHERRIGALE TOWNSEND,

Plaintiffs,

VS. CASE NO:

COMPLAINT FOR
COPYRIGHT
INFRINGEMENT AND
DEMAND FOR JURY
TRIAL

EDWARD CHRISTOPHER SHEERAN, p/k/a

ED SHEERAN, ATLANTIC RECORDING

CORPORATION, d/b/a ATLANTIC RECORDS,

SONY/ATV MUSIC PUBLISHING, LLC

WARNER MUSIC GROUP CORPORATION,

d/b/a ASYLUM RECORDS,

Defendants.
/

 

COMPLAINT FOR COPYRIGHT INFRINGEMENT

COME NOW, the Plaintiffs, KATHRYN TOWNSEND GRIFFIN, the Estate of
CHERRIGALE TOWNSEND, and HELEN McDONALD, who, by and through their
undersigned counsel(s), hereby sue the enumerated Defendants, EDWARD CHRISTOPHER
SHEERAN (professionally known as "Ed Sheeran") individually, and ATLANTIC
RECORDING CORPORATION, d/b/a ATLANTIC RECORDS, SONY/ATV MUSIC
PUBLISHING, LLC, and WARNER MUSIC GROUP d/b/a ASYLUM RECORDS and

would further allege as follows:

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Nature of the Case

1. This is an action for copyright infringement, in violation of 17 U.S.C. J¥ 101, et seq.,
arising from the Defendants’ unauthorized reproduction, distribution and/or public performance
of the Plaintiffs’ copyrighted musical composition “Let’s Get it On” (“Let’s’”’) using the hit song,
“Thinking Out Loud” (“Thinking”’), written by Amy Wadge and Ed Sheeran and, subsequently,
recorded by Ed Sheeran.

Jurisdiction

2. The Court has jurisdiction over the subject matter of this action under 28 U.S.C. §
1338(a) because this action arises under the Copyright Act of 1976, 17 U.S.C. § 101, et. seg.

3. This Court has personal jurisdiction over the enumerated Defendants because they
have directed their activities and marketing of the infringing works to New York residents, and
New York residents are able to purchase, download, and stream the infringing compositions and
recordings. As such, the Defendants have engaged in continuing business activities in the instant
jurisdiction.

4. The instant Defendants are, at a minimum, constructively aware of their continuous
and substantial commercial interactions with New York residents.

5. The Defendant, Mr. Ed Sheeran, has performed, and he and the other Defendants
have authorized, organized, and promoted performances of the infringing work numerous times
in New York.

6. The Defendants have generated touring revenues from the unauthorized and unlawful
exploitation of the infringing work, including receiving substantial revenue from such

exploitation in New York.

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7. Upon information and belief, the Defendants, individually and collectively, have
generated substantial revenue from the exploitation of the infringing works in New York.

8. New York has a considerable interest in adjudicating disputes wherein New York
residents are the target of the harm resulting from exploitation of the infringing work.

9. The Defendants herein facilitated the infringing acts occurring in the U.S., and
actively participated in a scheme aiding, inducing, and contributing to copyright infringement in
the U.S.

10. For those Defendant(s) primarily based out of the U.K., given their willful and
knowing exploitation of the infringing work in New York, each could reasonably anticipate
being sued in a court in the U.S., and New York, specifically.

11. Venue is proper in this Judicial District pursuant to 28 U.S.C 1391 (b), 1391 (c), and
1400(a) , respectively, because Defendants maintain offices in, and are subject to, personal
jurisdiction in this Judicial District and have committed unlawful acts of infringement in this
Judicial District.

12. The Plaintiffs at issue herein are the heirs of Mr. Ed Townsend, co-writer of the
lyrics of Let's Get /t On and creator of its musical composition, and are engaged, among other
things, in conducting the business of music publishing and otherwise commercially availing
musical composition copyrights of the music of Mr. Ed Townsend.

13. Upon reasonable information and belief, the Defendant, Edward Sheeran, is a
musician, singer, songwriter, and producer living in the United Kingdom who does business in
New York, individually, under Ed Sheeran Limited, and under Gingerbread Man Records. In

addition, Sheeran was nominated for a Grammy Award for Best Record, Best Performance, and

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Song of the Year in 2016 for Thinking. Sheeran conducts systematic and continuous business in
New York including, but not limited to, public performances, and selling albums and
merchandise to the citizens of New York. The Defendant, Edward Sheeran, has reproduced,
distributed, and publicly performed the infringing work and sound recording and/or authorized
its reproduction, distribution, and public performance.

14. Upon reasonable information and belief, ATLANTIC RECORDING
CORPORATION, d/b/a Atlantic Records, (“Atlantic”) is a Delaware corporation with its
Principal place of business in New York, New York. Upon reasonable information and belief,
Atlantic is the manufacturer and distributor of Thinking and, in so doing, participated in the
exploitation of Let’s.

15. Upon reasonable information and belief, SONY/ATV MUSIC PUBLISHING, LLC,
(“SONY/ATYV”) is a Delaware company with its principal place of business in New York, New
York. Upon reasonable information and belief, Sony/ATV is the music publisher for Thinking
and Let's and is in a unique position to have known about and/or participated in the exploitation
of either or both works.

16. Upon reasonable information and belief, WARNER MUSIC GROUP
CORPORATION, d/b/a Asylum Records, is a Delaware corporation with its principal place of
business in New York. The Defendant, Asylum, is responsible for the manufacturing,
distribution, marketing and promotion of Thinking and has benefitted extensively from the sale
of Thinking.

Ownership of Let’s Get it On
17. The musical composition, Let’s Get /t On, was written by Marvin Gaye (‘Gaye”) and

Ed Townsend (“Townsend") and recorded by Gaye, in 1973.

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18. It is undisputed by all parties that the Townsend Heirs have an ownership interest in
the copyright for Let's Get it On.

The Heart of Let’s Get It On

19. The harmonic, melodic, and rhythmic elements of composition in Let’s Get It On
have made this song one (1) of the most famous songs in R&B and soul music history. Let's has
been anthologized by celebrated music producers and ranked as the 20th greatest breakbeat of all
time.

20. Let's, begins with an iconic melody, bass line, harmony and rhythm that are
recognized around the world. The prominence of the bass line and drum composition throughout
Let's make these compositional elements qualitatively important to the musical work as a whole.
The combination of these elements constitute the driving force of this composition.

Thinking Out Loud

21. The enumerated Defendants released Thinking by the artist, Ed Sheeran on or about
September 24, 2014, including without limitation, on the album, X.

22, Upon reasonable information and belief, Thinking has hit the number one (1) position
on the national charts in eleven (11) countries since 2014, and has been certified platinum
multiple times by the Recording Industry Association of America, indicating sales in excess of
one million (1,000,000) copies sold in the United States, as well as substantial sales
internationally.

23. According to the Official Charts Company, the recording of Thinking is one (1) of
the best-selling singles of all time in the U.K., having sold over 2 million (2,000,000) copies.

24. Upon reasonable information and belief, the Defendants have authorized the use of

Thinking in compilation albums, television commercials and music videos.

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25. Specifically, the music video for Thinking is one (1) of the most popular sponsored
music videos on YouTube. Prior to the viewing of Thinking on YouTube, an advertisement
appears for which the Defendants are entitled to and receive a royalty or other revenue. As of
April 2016, Thinking has been played over one billion (1,000,000,000) times on YouTube.

Ed Sheeran

26. The instant Defendant, Mr. Edward Sheeran, professionally known as “Ed Sheeran”,
is a musical artist. The Defendant, Mr. Edward Sheeran, experienced a sharp and sudden rise as
an international music star in less than eighteen (18) months as a direct result of the commercial
success of Thinking, the lead single in the United States from Sheeran’s debut album, “X”’.

Defendants Infringed Let’s Get It On

27. The harmonic progressions, melodic and rhythmic elements, as observed in Let's,
have made Ler’s one of the most well-known and instantly recognizable songs in R&B history.

28. These elements of Let’s composition are the “heart” or qualitatively, the most
important elements, of the song. Indeed, in the wake of the release of Thinking, there have been
multiple instances in which third parties have independently highlighted the striking similarities
and overt common elements of the two (2) works at issue—to wit, a case in point came when the
popular R&B group known as Boyz II Men recently performed a medley of the two (2) songs
together in Las Vegas on July 24, 2015, seguing seamlessly between the two (2) works, and
then remarking that both the singers in Boyz II Men and, in fact, Ed Sheeran, himself—by
singing Thinking—they were actually both singing “a Marvin Gaye” song.’

29. Indeed, even Ed Sheeran, himself, has acknowledged the musical import of Let’s
as a forebear and/or musical foundation for Thinking and, purportedly, affirming to his audience

his proverbial R&B “bona fides” by performing a medley of both songs/works in which he, too,

 

' Said video footage of the pertinent event is currently available on YouTube.

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transitions seamlessly between Thinking and Let's.

30. The Defendants copied the "heart" of Let’s and repeated it continuously throughout
Thinking—this incontrovertible musical similarity has been observed by music industry
professionals previously, as embodied by various social media and articles about the matter and,
notably, directly addressed in a featured article in the music industry publication, Spin
Magazine?

31. As such, there can be no legitimate question that the melodic, harmonic, and
rhythmic compositions in Thinking are not the product of independent creation.

32. The melodic, harmonic, and rhythmic compositions of Thinking are substantially
and/or strikingly similar to the drum composition from Let’s.

33. The instant Defendants copied, reproduced, distributed, and/or publicly performed
copyrightable elements of Let's, specifically, the melodic, harmonic, and rhythmic compositions
of Let’s, without authorization.

34. To date, each of the enumerated Defendants reproduced, distributed, publicly
performed, and/or authorized the reproduction, distribution, and public performance of the
infringing composition and sound recording Thinking and each of the Defendants continues to
infringe Let’s.

35. Upon reasonable information and belief, no one ever licensed the Let’s melodic,
harmonic, and rhythmic compositions to the Defendants, or any other aspect of the copyrighted/

copyrightable aspects of Let's.

 

* Said video footage of the performance is also publicly available on YouTube.

* In the wake of the much-publicized “Blurred Lines” verdict, the March 11, 2015 article by Mr. Andrew
Unterberger takes the position that Mr. Sheeran’s composition, as it related specifically to Let’s Get it On,
constituted an even greater infringement upon Marvin Gaye’s revered body of work than that which was at
issue in the aforementioned litigation.

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The Infringement by the Defendants is Willful

36. The Defendants were notified of the infringement on or about April 15, 2015 by
electronic mail or telephone (the "Notice").

37. Despite receiving the Notice the Defendants continued to exploit Thinking without
permission to use the melodic, harmonic, and rhythmic compositions copied from Let's, the
infringed work.

38. Despite the Notice, all of the Defendants have continued to infringe Plaintiffs’
copyrighted work.

39. The infringement by the Defendants is willful, as evidenced by their continuing to
infringe Let's after the Notice was provided to them.

40. The Defendants knowingly and intentionally infringed upon Plaintiffs’ rights. The
Defendants’ collective knowledge and intent are established by, among other things, the fact that
Defendants to this day have neither sought, nor obtained, a license from the Plaintiffs. All
conditions precedent to the maintenance and/or establishment of the instant action have been
satisfied and/or, otherwise, waived by the Defendants.

FIRST CAUSE OF ACTION
(Copyright Infringement - 17 U.S.C. § 101, et.seq.)

41. The Plaintiffs repeat and reallege Paragraphs One (1) through Forty (40), as though
fully set forth herein.

42. The Defendants! reproduction, distribution, and public performances of the infringing
work, Thinking, continue to this day, and Defendants have not deigned to compensate Plaintiffs
for the use of the copyrighted work in Lert’s to be used for Thinking, despite the fact that they

have received money and other substantial benefits from Plaintiffs’ composition.

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43. The Defendants’ reproduction, distribution, public performance of Thinking, and
authorizing others to do the same, infringes Plaintiffs’ exclusive rights under the Copyright Act.

44. The conduct of the Defendants is knowing and willful.

45. Asa direct and/or proximate result of the Defendants’ wrongful conduct, the
Plaintiffs have been irreparably harmed, suffered damage, and Defendants have profited in an
amount to be determined at trial.

SECOND CAUSE OF ACTION
(Infringement of Copyright Claim for
Statutory Damages)

46. The Plaintiffs reallege and incorporate Paragraphs One (1) through Forty (40), and
Forty-Two (42) through Forty-Five (45), as though fully set forth herein.

47. The Defendants infringed Plaintiffs’ exclusive copyright in "Let's" when they copied
substantial parts of it. Such copying was wholly unauthorized, as it was without any manner of
license, consent, or authority from the Plaintiffs, the copyright owners. By virtue of this
unauthorized copying, the Defendants have realized illegal revenues.

48. The Defendants infringed on Plaintiffs’ exclusive copyright in "Let’s" when the
Defendants mechanically reproduced and released sound recordings, including compact discs
and other phono-records embodying "Thinking". Such reproduction and release was wholly
unauthorized, as it was without any license or consent of authority from the Plaintiffs. By virtue
of this unauthorized commercial exploitation, Defendants have realized illegal revenues.

49. The Defendant, Warner Music Group Corporation, d/b/a Asylum Records, infringed
on Plaintiffs’ exclusive copyright in "Let’s" when Defendants distributed and sold sound
recordings, including compact discs, phono-records and video recordings, embodying

"Thinking". Such reproduction and release was wholly unauthorized, as it was without any

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license or consent of authority from the Plaintiffs. By virtue of this unauthorized commercial
exploitation, Defendants have realized illegal revenues.

50. The Defendants infringed Plaintiffs’ exclusive copyright in "Lef’s" when they issued
and/or authorized others to issue licenses to third parties for the use, publication, and exploitation
of "Thinking". Said licenses were issued without any consent or authority from Plaintiffs, the
copyright owners of "Let's," from which "Thinking" was substantially copied. By virtue of this
unauthorized commercial exploitation, Defendants have realized illegal revenues.

51. As a direct and/or proximate result of the Defendants' infringement on Plaintiffs’
exclusive copyright in Let’s, Plaintiffs have suffered damages. Said injuries are continuing and
will not abate in the future.

52. Pursuant to 17 U.S.C. § 504 (c), the Plaintiffs are entitled to statutory damages.

53. The above-chronicled actions of enumerated Defendants were committed willfully,
and by reason thereof, in the event that Plaintiffs elect to recover statutory damages, they are
entitled to an increase of the award to a sum of up to $150,000 pursuant to 17 U.S.C. § 504
(c)(2).

THIRD CAUSE OF ACTION
(False Designation of Origin Under the Lanham Act §43 (a),
15 U.S.C. §1125 (a)-Against all Defendants)

54. The Plaintiffs reallege and incorporate Paragraphs One (1) through Forty (40), Forty-
Two (42) through Forty-Five (45), and Forty-Seven (47) through Fifty-Three (53), as though
fully set forth herein.

55. By distributing, marketing, and otherwise exploiting the Infringing Song in interstate

commerce while giving themselves credit for the Plaintiffs’ work, the Defendants have falsely

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represented to the public that Defendants have independently created, and are authors of,
Thinking.

56. Asa result, members of the public have been deceived and/or confused into
believing that Thinking is the independent creation of the Defendants. The Plaintiffs are
seriously injured by such deception, in that it negatively impacts their ability to distribute,
market, and otherwise exploit Let’s. This deception also has a negative impact on the Plaintiffs
because they are not receiving the credit due for the success experienced by Thinking.

57. By engaging in the wrongful conduct described herein and above, Defendants have
violated Section 43 (a) of the Lanham Act, 15 U.S.C. §1125 (a) for False Designation of Origin.
Because the Defendants have engaged in the conduct described herein with fraudulent intent, and
with the actual knowledge of the harm being caused to the Plaintiffs by such wrongful
conduct/acts, this is an exceptional case which merits an award of treble damages and attorney’s
fees against said Defendants.

58. The Defendants' acts and conduct have caused, and will continue to cause, Plaintiffs
great and irreparable injury that cannot be adequately compensated or measured in damages.
Plaintiffs have no adequate remedy at law and will suffer immediate and irreparable loss,
damage, and injury unless Defendants are restrained and enjoined from continuing to engage in
such wrongful conduct.

FOURTH CAUSE OF ACTION
("Reverse Passing Off" Under the Lanham Act §43(a), 15 U.S.C.
§1125 (a)- Against All Defendants)

59. The Plaintiffs reallege and incorporate paragraphs One (1) through Forty (40), Forty-

Two (42) through Forty-Five (45), Forty-Seven (47) through Fifty-Three (53) and Fifty-Five (55)

through Fifty-Eight (58), as though fully set forth herein.

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60. The Defendants have appropriated and copied the original expression of Let’s,
without consent, credit, or compensation, by writing, performing, and recording Thinking.

61. As aresult, members of the public have been deceived and/or confused into
believing that Thinking is the independent creation of the Defendants. The Plaintiffs are
seriously injured by such deception and misattribution, in that it negatively impacts their ability
to distribute, market, and otherwise avail themselves of Let’s.

62. By engaging in the wrongful conduct described herein and above, Defendants have
violated section 43 (a) of the Lanham Act, 15 U.S.C. §1125 (a) for Reverse Passing Off.
Because the Defendants have engaged in the conduct described herein with fraudulent intent, and
with the actual knowledge of the harm being caused to the Plaintiffs by such wrongful
conduct/acts, this is an exceptional case which merits and award of treble damages and
attorney’s fees against the Defendants.

63. The Defendants' aggregate acts and conduct have caused, and will continue to cause,
the Plaintiffs great and irreparable injury that cannot be adequately compensated or measured in
damages. The Plaintiffs have no adequate remedy at law and will suffer immediate and
irreparable loss, damage, and injury unless the Defendants are restrained and enjoined from
continuing to engage in such wrongful conduct.

FIFTH CAUSE OF ACTION
(Unjust Enrichment-Against All Defendants)

64. Plaintiffs reallege and incorporate Paragraphs One (1) through Forty (40), Forty-
Two (42) through Forty-Five (45), Forty-Seven (47) through Fifty-Three (53), Fifty-Five (55)
through Fifty-Eight (58) and Sixty (60) through Sixty-Three (63), as though fully set forth

herein.

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65. By reason of the foregoing facts, the Defendants, and each of them, have become
unjustly enriched at the expense of Plaintiffs by failing to license the right use Let’s and by
realizing monetary gain from their unauthorized use of Le?’s.

66. The Defendants, and each of them, have been unjustly enriched in an amount which
cannot be precisely ascertained at this time, but will be ascertained according to proof at trial.

SIXTH CAUSE OF ACTION
(Demand for Accounting-Against All Defendants)

67. The Plaintiffs reallege and incorporate Paragraphs One (1) through Forty (40), Forty-
Two (42) through Forty-Five (45), Forty-Seven (47) through Fifty-Three (53), Fifty-Five (55)
through Fifty-Eight (58), Sixty (60) through Sixty-Three (63), Sixty-Five (65) and Sixty-Six
(66), as though fully set forth herein.

68. As explicated herein above, the Plaintiffs have an interest in all of the money that is
generated from the distribution and any other exploitation of Thinking in that they are the
copyright owners of Let's. Moreover, Plaintiffs have an interest in any future exploitation of
Thinking and any royalties which result from any such future exploitation.

69. The Plaintiffs are informed and believe that Defendants have generated an
undetermined—yet substantial—amount of money, due to the commercial success of Thinking
and the X album through sales, distribution, promotion, circulation, and other exploitation of
Thinking.

70. The amount of money/proceeds due from the Defendants is unknown to Plaintiffs
and cannot be ascertained without an accounting of all of the Defendants' financial records
related to Thinking.

71. Asa result of the Defendants' actions, Plaintiffs have been damaged in an amount to

be proven after an accounting has been conducted. Accordingly, Plaintiffs hereby request that the

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Court order an accounting of all of Defendants' financial records related to Thinking in order to
determine the sums rightfully due to Plaintiffs and that those sums be paid to them.

SEVENTH CAUSE OF ACTION
(Preliminary and Permanent Injunction)

72. The Plaintiffs repeat and reallege Paragraphs One (1) through Forty (40), Forty-Two
(42) through Forty-Five (45), Forty-Seven (47) through Fifty-Three (53), Fifty-Five (55) through
Fifty-Eight (58), Sixty (60) through Sixty-Three (63), Sixty-Five (65) and Sixty-Six (66) and
Sixty-Eight(68) through Seventy-One (71), as though fully set forth herein.

73. The Plaintiffs have a likelihood of eventual success in this litigation.

74. The Plaintiffs will suffer irreparable harm if injunctive relief is not granted by this
Court.

75. The Defendants' unauthorized distributions of Plaintiffs’ intellectual property are
causing irreparable harm to the instant Plaintiffs.

DEMAND FOR JURY TRIAL

76. The Plaintiffs, respectfully, request a trial by jury on all claims asserted in this
Complaint.

WHEREFORE, the Plaintiffs, collectively, respectfully request that judgment be entered
against the enumerated Defendants, as follows:

A. For judgment that Defendants have violated the Copyright Act and that all such
violations have been willful; and

B. For judgment entering a preliminary and permanent injunction (and waiver of bond)
enjoining and restraining Defendants and their officers, agents, servants, employees and
attorneys and all those in active concert or participation with them, from infringing
Plaintiffs exclusive rights under the Copyright Act by reproducing, distributing and
publicly performing Thinking, and authorizing others to the same; and

C. For judgment assessing Defendants for the damages suffered by Plaintiffs, including
an award of actual damages and Defendants’ profits attributable to the infringement, or
statutory damages (at Plaintiffs’ election) under the Copyright Act, as well as costs and

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attorney's fees to the full extent provided for by Sections 501, 504 and 505 of the
Copyright Act, 17 U.S.C. §§ 501, 504 and 505; and

D. For a judgment directing that Defendants deliver up for destruction to Plaintiffs all
copies of Thinking in their possession or under their control, pursuant to 15 U.S.C. §
1118 and 17 U.S.C. § 503; and

E. For judgment granting such other, further, and different relief as to the Court may
seem just and proper, including Plaintiffs’ costs and reasonable attorneys’ fees.

DATED: June 24", 2017

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